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15
                       IN THE UNITED STATES DISTRICT COURT
16                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION
17
        MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
18      a Delaware corporation; and            )
        CERCACOR LABORATORIES, INC.,           ) PLAINTIFFS’ SUPPLEMENTAL
19      a Delaware corporation                 ) MEMORANDUM OF LAW IN
                                               )
20                  Plaintiffs,                ) SUPPORT OF PLAINTIFFS’
                                               ) MOTION FOR A PROTECTIVE
21            v.                               ) ORDER PRECLUDING DEFENDANT
                                               )
22      APPLE INC., a California corporation   ) FROM DISCLOSING PLAINTIFFS’
                                               ) CONFIDENTIAL MATERIALS TO
23                  Defendant.                 ) DR. PATRICK MERCIER
                                               )
24                                             )
                                               ) Date: 7/25/24 / 10:00 a.m.
25                                             ) Discovery Cutoff: 7/15/2024
                                               ) Pre-Trial Conf.:   10/28/2024
26                                             ) Trial:             11/05/2024
                                               )
27                                             ) Judge: Judge James V. Selna
                                               ) Mag. Judge John D. Early
28
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1                                        INTRODUCTION
2            Apple does not undermine the conclusion that Dr. Mercier is a director of two
3      organizations that compete with Masimo and poses an unreasonable risk of misuse or
4      inadvertent disclosure. Apple also fails to excuse its refusal to provide the information
5      that Masimo reasonably requested about Dr. Mercier’s board service. Nor has Apple
6      shown prejudice or any unique qualities about Dr. Mercier not possessed by alternatives.
7      Dr. Mercier should be precluded from receiving Masimo’s confidential materials.
8                                           ARGUMENT
9         A. Apple Ignores The Evidence Showing That Dr. Mercier Is A Director Of A
10           Competitor And Precluded Under The Protective Order
11           Apple fails to address or overcome the evidence showing that the Center develops
12     non-invasive physiological monitoring technology, systems, and devices that compete
13     with Masimo. Joint Stipulation (“JS”) 7-8; Loebbaka Decl., Exs. B, E, and F. Apple
14     argues that the Center “does not develop or commercialize any products,” and cites Dr.
15     Mercier’s declaration in support. JS at 5, 15. But Dr. Mercier’s declaration does not
16     support Apple’s assertion. Dr. Mercier stated that the Center is merely “academic and
17     research-focused” and does not “use [its] academic research” to “develop any
18     commercial products.” Passamaneck Decl., Ex. J ¶ 6. Notably, Dr. Mercier does not
19     testify that the Center is solely academic and develops no commercial products or
20     applications. See id. Nor could he. Indeed, in public statements, the Center describes
21     itself as a “commercialization engine with [a] lab-to-market focus” on “real-world
22     applications.” Loebbaka Decl., Exs. B, E. Apple ignores these public statements.
23           Apple also argues that competition must involve the “asserted technology,” and
24     that the technology at issue here is limited to “light-based physiological monitoring and
25     managing power consumption of low power pulse oximeters.” JS at 5, 14-15. But the
26     discovery to which Dr. Mercier would be exposed extends beyond the trade secrets and
27     patents that remain at issue. Dkt. 1, Exs. 9, 10. Apple does not argue otherwise.
28           Moreover, the Protective Order identifies the relevant technology in its

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1      prosecution bar. Dkt. 67, § 10. Under the prosecution bar, a receiving party is precluded
2      from participating in prosecution activities in the field of non-invasive monitoring. Dkt.
3      67, § 10. Apple negotiated and already agreed to the scope of the prosecution bar. And
4      the court in Alta, on which Apple relies (JS at 5), also looked to the prosecution bar to
5      interpret “competitor.” Alta Devices, Inc. v. LG Elecs., Inc., 2018 WL 5023373, at *1
6      (N.D. Cal. Oct. 16, 2018). The evidence shows that Masimo and the Center compete in
7      the field of non-invasive monitoring technology. See JS at 8-10.
8            Apple and Dr. Mercier also narrowly focus on Dr. Mercier’s individual “work”
9      rather than the Center’s. For example, in his declaration, Dr. Mercier states that, “I have
10     not worked with any companies to develop optical sensors for commercial applications
11     or products.” Passamaneck Decl., Ex. J, ¶ 5. But the exclusion in the Protective Order
12     applies on a company-wide basis and is not limited by an individual’s work at the
13     company. See Dkt. 67, ¶ 9.2(c) (excluding any “officer, director, or employee of . . . a
14     competitor”). And, regardless, Dr. Mercier is a director and not simply an employee of
15     the Center. Apple and Dr. Mercier provide insufficient assurances regarding the
16     Center’s work. Thus, Apple and Dr. Mercier fail to establish that the Center has not or
17     will not work with any companies to develop competing products.
18           Apple attempts to dismiss the Center’s relationship with Samsung and Google,
19     which offer wearable products for non-invasive physiological monitoring that compete
20     with Masimo. Loebbaka Decl., Ex. D ¶ 3. Apple argues that Samsung and Google
21     “are not current industry partners with the Center.” JS at 15. But this assertion is
22     inconsistent with the Center’s public statements, which describe Samsung and Google
23     as current industry partners. Loebbaka Decl., Exs. B, E. Moreover, the Protective Order
24     also precludes experts who anticipate a prohibited relationship with a competitor, Dkt.
25     67, § 9.2(c), and Apple and Dr. Mercier do not assert that the Center will not partner
26     with Samsung or Google in the future. See JS at 15; Passamaneck Decl., Ex. J, ¶ 8.
27           Finally, Apple relies on Codexis and Olin, JS at 13-14, but those cases are
28     inapposite. In Codexis, the court found insufficient technological overlap between a

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1      disclosing party and a proposed expert because the disclosing party manufactured and
2      sold engineered enzymes while the proposed expert worked in the cosmetics space and
3      sold software. Codexis, 2017 WL 5992130, at *8. Here, Masimo and the Center
4      develop competing non-invasive sensors for physiological measurements. See JS at 7-
5      8. In Olin, the court agreed with the objecting party and precluded one expert as posing
6      too much of a risk because he worked for a competitor, consistent with Masimo’s
7      position here. Olin, 2019 WL 5802020, at *3. The court permitted disclosure to a
8      different expert, but only because the expert had stopped working for the competitor
9      seven years earlier. Id. In contrast, Dr. Mercier is a Director at the Center today.
10        B. Apple Fails To Rebut That Dr. Mercier’s Role And Work At The Center And
11           NeuroVigil Presents An Unreasonable Risk Of Misuse And Inadvertent
12           Disclosure
13           Even if Dr. Mercier were not a director of a competitor, his role and work at the
14     Center and NeuroVigil presents an unreasonable risk of misuse or inadvertent disclosure
15     of Masimo’s confidential information.        See supra Part A; JS 8-9.       Dr. Mercier
16     acknowledges he is a board member of NeuroVigil and reviews and evaluates
17     NeuroVigil’s non-invasive brain monitors. Passamaneck Decl., Ex. J, ¶ 9. Apple does
18     not dispute that Masimo and NeuroVigil develop and sell competing non-invasive brain
19     monitoring technology that relies on EEG. See JS at 15-16. Instead, Apple asserts that
20     “for purposes of this litigation” there is no competitive issue “because Plaintiffs’ brain-
21     monitoring technology is not at issue in this case.” JS at 15-16. But the parties’ status
22     as competitors does not depend on the scope of this litigation. Masimo’s SedLine®
23     technology and product relies on non-invasive monitoring sensors, which is within the
24     scope of relevant technology outlined in the Protective Order’s prosecution bar. And
25     Apple does not dispute that in response to its broad discovery requests, Masimo
26     produced thousands of documents relating to SedLine®. See id.
27           Apple attempts to downplay the risk associated with Masimo’s SedLine®
28     materials by asserting that Dr. Mercier may not need to see those documents. JS at 16.

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1      But Masimo cannot control which documents Apple shows to its approved experts.
2      Apple also suggests it is willing to refrain from providing Dr. Mercier with “any
3      Sedline® documents that Plaintiffs identify to Apple.” JS at 16. However, a search of
4      Masimo’s document production database identified 33,936 documents that refer to
5      Masimo’s SedLine®. Apple’s suggestion is thus impractical.
6            Apple asserts that Dr. Mercier has agreed to be bound by the Protective Order
7      and thus “poses no risk of misuse of Plaintiffs’ confidential information.” JS at 16. But
8      “it is very difficult for the human mind to compartmentalize and selectively suppress
9      information once learned, no matter how well-intentioned the effort may be to do so.”
10     FTC v. Exxon Corp., 636 F.2d 1336, 1350 (D.C. Cir. 1980) (affirming preclusion).
11           Apple also asserts that it would be prejudiced if Dr. Mercier were precluded
12     because he is well qualified, the damages at issue in this action are significant, and
13     because Masimo “requested and received a short discovery period.” JS at 17-18. But
14     Masimo has established the risk of harm is significant, and none of Apple’s asserted
15     considerations are persuasive. First, Apple has not established that Dr. Mercier is
16     uniquely qualified or that it needs Dr. Mercier in particular. See Olin, 2019 WL
17     5802020, at *3. Second, the damages at issue does not reduce the risk of harm from
18     misuse or inadvertent disclosure. Third, Apple has been aware of the deadlines and its
19     alleged need for Dr. Mercier for months. JS at 11-12. Apple is responsible for any
20     inconvenience associated with disclosing Dr. Mercier near the deadline for opening
21     expert reports. Apple should not be permitted to benefit from its own delay.
22        C. Apple Fails To Justify Its Refusal To Provide Requested Information
23           Apple asserts that Masimo’s request for additional information regarding Dr.
24     Mercier’s board service was unreasonable because it sought information beyond “the
25     technology at issue in this case.” JS at 5-6, 16-17. But, again, Apple relies on an overly
26     narrow definition of relevant technology. Supra Part A. Masimo’s request tracked the
27     scope of relevant technology, and Apple should have provided the requested
28     information. Dkt. 67, § 9.2(c).

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1                                         CONCLUSION
2            For the foregoing reasons and the reasons explained by Masimo in the Joint
3      Stipulation, Masimo respectfully requests the Court grant a protective order precluding
4      Apple from disclosing Masimo’s confidential materials to Dr. Mercier.
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7                                                   Respectfully submitted,
8      Dated: June 30, 2024                       By: /s/ Kendall M. Loebbaka
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                                                       Cercacor Laboratories, Inc.
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